                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )                 1:19CR141-1
                                          )
                                          )
MARION LEVERNE LITTLE                     )

                              MEMORANDUM ORDER

      This matter is before the Court on Defendant Marion Leverne Little’s pro se

Motion Pursuant to 18 U.S.C. § 3582(c)(1)(A) [Doc. #38]. In support of his

motion, he relies on his age and medical conditions, his increased risk of death

from COVID-19, the burden on the Bureau of Prisons were he to contract COVID-

19, and his mother’s care needs. For the reasons explained below, his motion is

denied.

      On October 3, 2019, Little was sentenced to seventy-three months’

imprisonment. “The court may not modify a term of imprisonment once it has

been imposed except”, as is relevant here, “upon motion of the defendant after the

defendant has fully exhausted all administrative rights to appeal a failure of the

Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse of 30

days from the receipt of such a request by the warden of the defendant’s facility,

whichever is earlier”. 18 U.S.C. § 3582(c)(1)(A). Little submitted a request to the

warden for compassionate release based on his medical conditions, but neither the

date of his request nor the date of the warden’s receipt of that request is evident




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from Little’s motion or supporting documentation. However, given that the warden

denied the request on December 3, 2020, it is plausible that thirty days passed

since the warden’s receipt of the request when Little filed the instant motion.

Therefore, it is determined that he has exhausted his administrative remedies.

      He must next meet his burden of showing that extraordinary and compelling

reasons warrant relief, see 18 U.S.C. § 3582(c)(1)(A)(i), and this he has not done.

See United States v. McCoy, 981 F.3d 271, 284 (4th Cir. 2020) (finding “no

‘applicable’ policy statement governing compassionate-release motions filed by

defendants under the recently amended § 3582(c)(1)(A),” “empower[ing]” courts

“to consider any extraordinary and compelling reason for release that a defendant

might raise”) (citation omitted); U.S. Sentencing Guideline § 1B1.13, Application

n.1 (providing circumstances found to be extraordinary and compelling) cited in

McCoy, 981 F.3d at 282 n.7 (noting that § 1B1.13 “remains helpful guidance

even when motions are filed by defendants”); Dep’t of Justice, Fed. Bureau of

Prisons, Program Statement 5050.50 (Jan. 17, 2019) (explaining circumstances

supporting compassionate release).

      Sixty-seven-year-old Little claims to be “on Chronic Care” after having had

two strokes and suffering from hypertension, obesity, and depression, in addition

to being under “constant supervision from medical staff due to his weakened

heart”. Under certain circumstances, an inmate’s age and medical conditions may

constitute extraordinary and compelling reasons warranting release, see, e.g., U.S.

Sentencing Guidelines § 1B1.13, Application n.1(A) (discussing medical

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conditions), Application n.1(B) (discussing a defendant’s age), but those

circumstances are not present here.

      First, the guidance provided by Application Note 1(B) to the policy statement

in § 1B1.13 of the United States Sentencing Guidelines describes a defendant who

is at least sixty-five years old, suffering from “a serious deterioration” in health due

to aging, having “served at least 10 years or 75 percent of his . . . term of

imprisonment, whichever is less.” Little is sixty-seven, but not only has he failed

to present evidence that he is experiencing serious health deterioration due to

aging, he has only served approximately fifty percent of his sentence, see

https://www.bop.gov/inmateloc/ (noting Little’s release date as Apr. 16, 2024)

(last visited Jan. 11, 2021).

      Next, Little’s medical conditions are not akin to those described in the

guidance provided by Application Note 1(A) to the policy statement in § 1B1.13.

Little submitted no medical records or other documentation of his health

conditions, other than the warden’s denial of his request for compassionate release

in which the warden explains that a medical evaluation concluded that “all of

[Little’s] conditions are controlled through medication” and he is “capable of

performing activities of daily living (ADL) without assistance and [is] capable of

carrying out self-care.”

      Little’s history of hypertension is confirmed in his August 2019 Presentence

Report, but, as noted above, it is controlled by medication. He also reported as

part of his presentence investigation that he suffered three strokes from 1970 to

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1990, that his face “twisted” on one occasion, but that he had since healed. The

Presentence Report also notes his height and weight, but they do not equate to a

body mass index characterized as obese. Instead, they reflect a body mass index

well within the normal range. He also “denied any history . . . [of] mental or

emotional disorders.” Little does not dispute the Bureau of Prisons’ determinations

that all of his medical conditions are controlled through medication and that he is

capable of performing ADLs and self-care without assistance. He does not argue

that he is not receiving necessary medical care or how he could better access

medical treatment outside the Bureau of Prisons.

      In addition to relying on his age and medical conditions as a basis for

compassionate release, Little also argues that they place him at higher risk of death

were he to contract COVID-19 which would place a burden on the Bureau of

Prisons’ medical staff and the government’s finances. Of Little’s documented

medical conditions, the Centers for Disease Control and Prevention (“CDC”)

recognize that hypertension may increase the risk of severe illness from the virus

that causes COVID-19. https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (updated Dec. 29, 2020).

      In addition, Little’s age is known to place him at higher risk for severe illness

from COVID-19 than younger individuals. https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/older-adults.html. More specifically, the CDC reports

that, compared to individuals eighteen to twenty-nine years old, individuals

between the ages of sixty-five and seventy-four are five times more likely to

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require hospitalization as a result of COVID-19 and ninety times more likely to die.

Id. Eight out of ten COVID-19 deaths reported in the United States have been

adults sixty-five and older. Id.

      Little is housed at FCI Williamsburg where thirty-eight of its approximately

1,300 inmates are reported to be presently infected.

https://www.bop.gov/coronavirus/ (also reporting eight staff members presently

infected, no deaths, and eighty-nine inmates who have recovered) (last updated

Jan. 8, 2021). The challenge for Little is that it cannot be determined that he

would be better protected from contracting COVID-19 if he were released to

Rockingham, North Carolina as proposed in his Presentence Report. See N.C. Dep’t

of Health & Human Servs., COVID-19 County Alert System,

https://files.nc.gov/covid/documents/dashboard/COVID-19-County-Alert-System-

Report.pdf (reporting Richmond County’s 14-day Case Rate Per 100,000 as 615.7,

its 14-day Percent Positive as 11.6%, and “[c]ritical [c]ommunity [s]pread in the

county) (updated Jan. 6, 2021). Other than a desire to reside with his elderly

mother, he has provided no release plan.

      Little also relies on his ninety-three-year-old mother’s circumstances. He

claims that she needs a walker, has difficulty hearing, and needs a caregiver. Little

believes that he can relieve his family’s financial and emotional burdens if he were

released to be her caregiver. Some family circumstances may constitute

extraordinary and compelling reasons for release, see, e.g., U.S. Sentencing

Guidelines § 1B1.13 Application n.1(C), but these do not. Little’s concern over his

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mother’s care and family’s wellbeing are admirable and understandable. However,

as is more fully explained below, Little’s history does not instill confidence that he

could do as he hopes. As stated in his Presentence Report, he “was incarcerated

almost continuously from 1985 to present” and was last employed outside prison

in the 1980’s. He reported that he had received Social Security Income since April

2018. When he was released from imprisonment in March 2018, he resided with

his mother and, according to Little, did well and remained sober. However, by the

end of that year, he had relapsed to smoking cocaine base. He left the residence

of his mother, who was then ninety-two years old, to move in with two other drug

users with whom he would commit the instant offenses. Little’s mother is not

without family while he is incarcerated; Little has four living siblings, two of whom

he reported to be non-disabled and employed.

      Even if Little had met his burden of showing extraordinary and compelling

reasons warranting relief, the requisite application of the factors from 18 U.S.C.

§ 3553(a), see 18 U.S.C. § 3582(c)(1)(A), counsel against his release. On the one

hand, Little’s age suggests that he is less likely to recidivate than younger

offenders following release. See U.S. Sentencing Comm’n, The Effects of Aging on

Recidivism Among Federal Offenders (Dec. 2017). However, he was sixty-five

years old when he committed the instant offenses, just a year after having been

released to post-release supervision following a lengthy term of incarceration.

      And, his lengthy criminal history reflects an individual who has continued to

be a threat to public safety. His felony convictions include three convictions for

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common law robbery, one conviction for robbery with a dangerous weapon,

twenty convictions for breaking and entering, eighteen convictions for larceny, two

convictions for escape, two convictions for speeding to elude arrest, and one

conviction for first degree kidnapping. During his periods of incarceration, Little

continued to struggle with abiding by standards of conduct and incurred

infractions. He is presently imprisoned for attempting to rob a Family Dollar and an

Alco Food Store and robbing a Dollar General, each while either brandishing or

using a knife.

      For the reasons explained above, IT IS HEREBY ORDERED that Defendant

Marion Leverne Little’s pro se Motion Pursuant to 18 U.S.C. § 3582(c)(1)(A) [Doc.

#38] is DENIED.

      This the 11th day of January, 2021.

                                                    /s/ N. Carlton Tilley, Jr.
                                              Senior United States District Judge




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